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•.
      1                                                                            Mar 12 2021
                                                                                    4:20 pm
      2
                                                                                   s/ meganb

      3

      4                             UNITED STATES DISTRICT COURT

      5                           SOUTHERN DISTRICT OF CALIFORNIA

      6                                  November 2019 Grand Jury

      7 UNITED STATES OF AMERICA,                                '21-CR822
                                                        Case No. -    - - -GPC
                                                                            --
      8                                                 INDICTMENT
      9          V.
                                                        Title 18, U.S.C., Sec. 1962(d) -
     lO JEAN-FRANCOIS EAP (1),                          Racketeering Conspiracy to Conduct
                                                        Enterprise Affairs (RICO Conspiracy);
     11  aka "888888",
        THOMAS HERDMAN (2),                             Title 21, U.S.C., Secs. 84l(a)(l) and 846 -
     12                                                 Conspiracy to Distribute Controlled
                        Defendants.                     Substances; Title 18, U.S.C. Sec. 2 -
     13                                                 Aiding and Abetting; Title 18, U.S.C.,
                                                        Sec. 1963, and Title 21, U.S.C., Sec. 853 -
     14                                                 Criminal Forfeiture
     15
     16         The grand jury charges at all times material to this Indictment:
     17                                  SKY GLOBAL OVERVIEW
     18         1.    SKY GLOBAL is a Canadian-based company that sells encryption services and
     19 devices to transnational criminal organizations to facilitate illegal activity. JEAN-
     2 o FRANCOIS EAP and others started SKY GLOBAL in approximately 2010. SKY GLOBAL's
     21   devices are specifically designed to prevent law enforcement from actively monitoring the
     22   communication{ between members of transnational criminal organizations. As part of its
     23   services, SKY GLOBAL guarantees that messages stored on its devices can be (and will be)
     2 4 remotely deleted by the company if the device is seized by law enforcement or otherwise
     2 5 compromised.
     26         2.    SKY GLOBAL devices are dedicated data devices housed inside an iPhone,
     2 7 Google Pixel, Blackberry, or Nokia handset. Whereas the standard iPhone, Google Pixel,
     2 8 Blackberry, or handset is sold to the public with the capability for voice communication, GPS

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 1 navigation, camera, Internet access, and the Messenger services, when SKY GLOBAL
 2 receives the devices, their technical team removes the internal hardware/software
 3 responsible for the GPS, camera, Internet, and voice communications. SKY GLOBAL then
 4 installs sophisticated encryption software and routes the data through encrypted servers
 5 located in Canada and France. There are at least 70,000 SKY GLOBAL devices in use
 6 worldwide, including in the United States. For more than a decade, SKY GLOBAL has
 7 generated hundreds of millions of dollars in profit by facilitating the criminal activity of
 8 transnational criminal organizations and protecting these organization from law

 9 enforcement.

10                                       The Defendants

11         3.     JEAN-FRANCOIS EAP, aka "888888", ("EAP") is a citizen of Canada and
12   resident of Vancouver, Canada. He is the founder and CEO of SKY GLOBAL. He controlled
13   SKY GLOBAL operations as set forth below, including frequent communication with
14   Distributors, including co-defendant THOMAS HERDMAN, ("HERDMAN") and others.
15         4.     THOMAS HERDMAN, ("HERDMAN") is a citizen of Canada, and a resident of
16 Vancouver, Canada. Until approximately December 2020, HERDMAN was responsible for
1 7 international distribution of SKY GLOBAL devices, including distribution in the United
18   States (including Southern California), Mexico, Central America, South America, Europe,

19   and Australia.

20                                     The Enterprise

21         5.     Defendants EAP and HERDMAN, and others, were leaders, members, and

22   associates of a criminal organization, hereinafter, the SKY GLOBAL ENTERPRISE, whose
2 3 members engaged in acts involving drug trafficking and obstruction of justice. Leaders,
24   members and associates of SKY GLOBAL ENTERPRISE operated throughout the world,
25   including Canada, Colombia, Mexico, Belgium, the Netherlands, Australia, and throughout
2 6 the United States, including in the Southern District of California.
27         6.     SKY GLOBAL ENTERPRISE, including its leadership, members, and
28   associates, constituted an "enterprise," as defined m Title 18, United States Code,
                                                  2
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     1 Section 1961(4), that is, a group of individuals associated in fact, although not a legal entity.
     2 The enterprise constituted an ongoing organization whose members functioned as a
     3 continuing unit for a common purpose of achieving the objectives of the enterprise. The
     4 enterprise was engaged in, and its activities affected, interstate and foreign commerce.
  5            7.    Leaders, members, and associates of SKY GLOBAL ENTERPRISE had defined
     6 roles in the enterprise. At all times relevant to this Indictment, defendant EAP and
 7 HERDMAN, and others, participated in the operation and management of the enterprise as
 8 follows:
 9            Administrators:
10            8.     Administrators are SKY GLOBAL ENTERPRISE's front office staff who have
11 physical control of the SKY GLOBAL ENTERPRISE's network and can initiate new
12     subscriptions, remove accounts, remotely delete (i.e, wipe), and reset devices. EAP, as the
13     Chief Executive Officer, is the key administrator.
14            Distributors:

15            9.     Distributors coordinate agents and resellers of SKY GLOBAL ENTERPRISE
16 devices, receive payments for ongoing subscription fees, send associated funds (minus
1 7 personal profit) back to the parent company, and provide second level technical support. The
18     distributors can also remotely delete and reset devices. The distributors communicate
19     directly with SKY GLOBAL ENTERPRISE's administrators. HERDMAN was a distributor
20 for SKY GLOBAL ENTERPRISE up until approximately December 2020. HERDMAN and
21     EAP communicated directly in furtherance of the SKY GLOBAL ENTERPRISE.
22            Agents:

23            10.    Agents physically source and engage with new customers to sell and deliver
2 4 devices with initial subscriptions. The agents earn profit on the sale of the handset only and
25     provide first-level technical support to their small group of customers.
26                                     Purposes of the Enterprise
27            11.   SKY GLOBAL ENTERPRISE's purposes included the following:
28

                                                      3
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     1                 A.    To create, maintain, and control a method of secure communication to
     2 facilitate the importation, exportation, and distribution of illegal drugs into Australia, Asia,
     3 Europe, and North America, including the United States and Canada, and to launder the
     4 proceeds of such drug trafficking conduct;
  5                   B.     To obstruct investigations of drug trafficking and money laundering
  6 organizations by creating, maintaining, and controlling a system whereby SKY GLOBAL
  7 would remotely delete evidence of such activities;
  8                   C.     To enrich the leaders, members, and associates of the enterprise by
  9 taking payment from the sale of each SKY GLOBAL device;
10                    D.     To promote and enhance the reputation and standing of SKY GLOBAL
11       and its leaders, members, and associates;
12                    E.     To preserve and protect SKY GLOBAL's profits and client base through
13       acts of money laundering;

14                    F.     To protect SKY GLOBAL and its leaders, members, and associates from
15       detection, apprehension, and prosecution by law enforcement;
16                    G.     To avoid detection of its illicit conduct by, among other things, laundering
1 7 its illegal proceeds, communicating with encrypted devices, and transferring illegally
18       obtained funds into cryptocurrency, specifically Bitcoin;
19                    H.    To evade law enforcement by, among other things, maintaining the
20       organization's technical infrastructure outside United States; and
21                    I.    To enhance its power and financial profits by promoting SKY GLOBAL's
22       activities with customers and potential customers.
23                                Manner and Means of the Enterprise
24             12.    The means and methods by which the defendants, and other members and
2 5 associates of SKY GLOBAL, agreed to conduct and participate in the affairs of the enterprise
2 6 included, by were not limited to, the following:

27                    A.    SKY GLOBAL Administrators operated the SKY GLOBAL NETWORK,
2 8 which used SKY GLOBAL devices to send and receive encrypted messages. To stay outside
                                                       4
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 1 the reach of law enforcement of the United States, SKY GLOBAL maintained its servers in
 2   Canada and France, and used proxy servers to further disguise the physical locations of its

 3 servers.

 4                B.     SKY GLOBAL Distributors and Agents provided SKY GLOBAL devices
 5 to their clients and collected a subscription fee of approximately $1,200 - $2,000 USD per six

 6 month period.
 7                C.     SKY GLOBAL's Administrators, Distributors, and Agents employed an
 8 "ask nothing/do nothing'' approach toward its clients. SKY GLOBAL adopted this approach
 9 shortly after the takedown of Phantom Secure and allowed for its Administrators,
1 o Distributors, and Agents to have plausible deniability from the activities of their clients that
11 they knew or had reason to know participated in illegal activities, including international

12   drug trafficking.
13                D.     SKY GLOBAL Administrators, Distributors, Agents, and clients strove
14   to achieve shared anonymity, in order to evade law enforcement and escape the other
15   consequence of their criminal activities. To that end, SKY GLOBAL's Administrators,
16 Distributors, Agents, and clients remained anonymous even to each other. SKY GLOBAL
1 7 Administrators, Distributors, and Agents do not request, track or record their clients' real
18   names, and interacted only via username, email handles, or nicknames.
19                E.     SKY GLOBAL Administrators, Distributors, Agents, and clients
2 o distributed and facilitated the distribution of federally controlled substances, including
21   heroin, cocaine, and methamphetamine, using SKY GLOBAL devices.
22                F.     SKY GLOBAL Administrators, Distributors, and Agents obstructed law
23   enforcement by deleting (i.e. wiping) devices that they were made aware had been seized by
2 4 law enforcement to destroy evidence that the devices contained. SKY GLOBAL
2 s Administrators, Distributors, and Agents also suspended service and deleted the contents of
2 6 a device if SKY GLOBAL suspected law enforcement or an informant was using the device

2 7 as part of an investigation.

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 1                 G.     SKY GLOBAL Administrators, Distributors, and Agents facilitated the
 2 illegal activities of its clients, including drug trafficking and money laundering;
 3                 H.     SKY GLOBAL Administrators, Distributors, and Agents used digital
 4   currencies, including Bitcoin, to facilitate illegal transactions on the website, to protect the
 5 membership's anonymity, and to facilitate the laundering of the membership's ill-gotten
 6   gains. SKY GLOBAL Administrators, Distributors, and Agents also set up and maintained
 7   shell companies to hide the proceeds generated by selling its encryption services and devices.
 8                                              Count 1

 9                               (RACKETEERING CONSPIRACY)

10           13.   Paragraphs 1 through 12 are re-alleged and incorporated by reference herein.
11           14.   Beginning at least as early as 2010 and continuing up to and including
12   March 12, 2021, within the Southern District of California and elsewhere, defendants JEAN-
13 FRANCOIS EAP, aka "888888", THOMAS HERDMAN, and others, being persons employed
14   by and associated with SKY GLOBAL, an enterprise which was engaged in, and the activities
15 of which affected interstate and foreign commerce, did knowingly and intentionally conspire
16 with each other, and with others, to violate Title 18, United States Code, Section 1962(c),
1 7 that is to conduct and participate, directly and indirectly, in the conduct of SKY GLOBAL's
18   affairs through a pattern of racketeering activity consisting of:
19                 A.     Multiple offenses involving trafficking in controlled substances m
20   violation of Title 21, United States Code, Sections 84l(a)(l), 846, 952, 960, and 963;
21                 B.     Multiple acts indictable under Title 18, United States Code, Section 1512

22   (obstruction of justice).
23           15.   It was a part of the conspiracy that each defendant agreed that a conspirator
2 4 would commit at least two acts of racketeering activity in the conduct of the affairs of the

25   SKY GLOBAL ENTERPRISE.
2 6 All in violation of Title 18, United States Code, Section 1962(d).

27   II

28   II
                                                    6
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 1                                              Count 2

 2               (Conspiracy to Distribute Illegal Drugs and Aiding and Abetting)

 3         16.      Beginning as early as 2010 and continuing up to and including March 12, 2021,
 4   within the Southern District of California and elsewhere, defendants JEAN-FRANCOIS
 5 EAP, aka "888888", and THOMAS HERDMAN, did knowingly and intentionally conspire
 6 with each other and others to aid and abet the distribution of at least 5 kilograms and more
 7 of a mixture and substance containing a detectable amount of cocaine, a Schedule II
 8   Controlled Substance; in violation of Title 21, United States Code, Sections 84l(a)(l) and
 9 846, and Title 18, United States Code, Section 2.
1O                                      Forfeiture Allegations
11                       (RACKETEERING CONSPIRACY FORFEITURE)

12         17.      The allegations contained in Paragraphs 1 through 15 are re-alleged and by
13 their reference fully incorporated herein for the purpose of alleging forfeiture to the United
14   States of America under Title 18, United States Code, Section 1963.
15         18.      Upon conviction of the violation of Title 18, United States Code, Section 1962,
16   as alleged in Count 1, defendants JEAN-FRANCOIS EAP, aka "888888", and THOMAS
17   HERDMAN, shall forfeit to the United States:
18                  A.    all interests acquired and maintained in violation of Title 18, United
19   States Code, Section 1962, which interests are subject to forfeiture to the United States
20   under Title 18, United States Code, Section 1963(a)(l);
21                  B.    all interests in, security of, claims against, and property and contractual
22   rights affording a source of influence, over SKY GLOBAL, which these defendants
23   established, operated, controlled, conducted, and participated in the conduct of, in violation
24   of Title 18, United States Code, Section 1962, which interests, securities, claims, and rights
2 5 are subject to forfeiture to the United States under Title 18, United States Code,

2 6 Section 1963(a)(2); and
27                  C.    all property constituting and derived from proceeds obtained, directly
28   and indirectly, from racketeering activity, in violation of Title 18, United States Code,
                                                    7
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     1 Section 1962, which property is subject to forfeiture to the United States under Title 18,
 2 United States Code, Section 1963(a)(3).
 3            19.   The interests of said defendants subject to forfeiture to the United States under
 4     Title 18, United States Code, Section 1963(a)(l), (a)(2), and (a)(3), include but are not limited
 5 to at least $100,000,000 and all interests and proceeds traceable thereto, including but not
 6 limited to the following assets:
 7                  A.     All right, title, and interest in the following Blackberry Unified Endpoint
 8 Management (UEM), Server Routing Protocol Identifiers (SRPIDs):
 9
                           849231435
10                         857849247
                           839136777
11                         812077336
                           863359470
12
                           880608512
13                         834223055

14                  B.     All right, title, and interest in the following Google Android for Work

15 Enterprise Account:
16                         Enterprise Name: Sky Global Holdings, Inc.
                           Enterprise Android for Work Admin: developer@skyglobal.com
17
                           Enterprise ID: LC00xosx2o
18                         Enterprise Mobility Management (EMM): Blackberry

19                  C.     All right, title, and interest in at least 40 SKY GLOBAL HOLDINGS

2 0 domain names:
                              www.skyglobal.com
21                            www.skyecconline.com
                              www .skyecc.com
22                            www .skysecure.com
                              www.skysecure.us
23                            www.skychat.info
                              www .skywork.com
24                            www.skywork.net
                              www.skychat.net
25                            www .skysecure.cc
                              www .skysecure.info
26                            www.skysecure.mobi
                              www.skysecure.co
27                            www .skysecure.me
28                            www.skysecure.org

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     1                          www.skyglobal.org
                                www .skyglobal.co
     2
                                www.skyglobal.ca
     3                          www .skyecc.mobi
                                www.skyuem.com
     4                          www.skychat.mobi
                               www.sky.global
     5
                               www.skywork.mobi
     6                         www.skywork.online
                               www.skychat.biz
  7                            sky.skysecure.im
                               ios.skysecure.im
  8
                               iosa.skysecure.im
  9                            iosb.skysecure.im
                               skya.skysecure.im
10                             skyb.skysecure.im
                               sky3.skysecure.im
11
                               ns.skysecure.im
12                             smtp.skysecure.im
                               dev.skysecure.im
13                             hermes.skysecure.im
                               mx.skysecure.im
14
                               mx2.skysecure.im
15                             im.skysecure.im
                               nox.skysecure.im
16

17                                (DRUG CONSPIRACY FORFEITURE)
18              20.   The allegations contained in Paragraph 16 are re-alleged and by their reference
19       fully incorporated herein for the purpose of alleging forfeiture to the United States of
2 O America under Title 21, United States Code, Section 853.
21              21.   Upon conviction of the felony violation of Title 21, United States Code,
22       Sections 841(a)(l) and 846, as alleged in Count 2, which offense is subject to imprisonment
23       for more than one year, defendants JEAN-FRANCOIS EAP, aka "888888", and THOMAS
2 4 HERDMAN, shall forfeit to the United States all property constituting or derived from any
2 5 proceeds the defendants obtained, directly or indirectly, as a result of the violation, and any
2 6 of the defendants' property(ies) used or intended to be used, in any manner or part, to commit
2 7 or to facilitate the commission of the violation set forth in Count 2.
28       II

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 1                                   Substitute Property Forfeiture

 2          22.       If any of the above-described forfeitable property, as a result of any act or

 3   omission of said defendants -
 4                    A.    cannot be located upon the exercise of due diligence;

 5                    B.    has been transferred or sold to, or deposited with, a third party;

 6                    C.    has been placed beyond the jurisdiction of the Court;

 7                    D.    has been substantially diminished in value; or

 8                    E.    has been commingled with other property which cannot be subdivided

 9   without difficulty;
1 o it is the intent of the United States, pursuant to Title 18, United States Code,

11   Section 1963(m) and Title 21, United States Code, Section 853(p), to seek forfeiture of any
12   other property of said defendants up to the value of the property listed above as being subject
13   to forfeiture.
14   All pursuant to Title 18, United States Code, Section 1963, and Title 21, United States Code,
15   Section 853.
16          DATED: March 12, 2021.

17

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19
     RANDY S. GROSSMAN
20   Acting United States Attorney


::By:~
23
          MEGE.HESCH
          JOSHUA C. MELLOR
24        Assistant U.S. Attorneys

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